           Case 1:20-cv-01213-AS Document 56 Filed 04/15/22 Page 1 of 1


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 LIVE BRANDS HOLDINGS, LLC,

         Plaintiff,

   v.

 GASTRONOMICO GRACIAS A DIOS,                        Case No. 1:20-cv-1213 (JPC)
 SOCIEDAD RESPONSABILIDAD
 LIMITADA de CAPITAL VARIABLE;
 XAIME NIEMBRO ALVAREZ;
 PABLO LOPEZ VARGAS;
 JOSE ENRIQUE JIMENEZ BARCENAS;
 and OSCAR HERNANDEZ SANTIAGO,

         Defendants.


                            NOTICE OF MOTION TO DISMISS

        PLEASE TAKE NOTICE that, upon the accompanying Memorandum of Law in Support

of Defendants’ Motion to Dismiss, dated April 15, 2022, Defendants move this Court, before the

Honorable John P. Cronan, at the Daniel Patrick Moynihan United States Courthouse, 500 Pearl

Street, New York, New York, for an Order dismissing Plaintiff’s Amended Complaint pursuant

to Federal Rule of Civil Procedure 12(b)(6).

DATED: April 15, 2022

                                               Respectfully submitted,

                                               LAW OFFICE OF DAVID TENNANT PLLC

                                               s/ David H. Tennant
                                               David H. Tennant
                                               3349 Monroe Avenue, Suite 345
                                               Rochester, NY 14618
                                               585-281-6682
                                               david.tennant@appellatezealot.com
